1. A judge of the superior court has not power under the Code, § 76-101, to issue a peace warrant for arrest and commitment to jail of a person upon grounds therein stated; but he has such power under the Code, § 76-201. If a judge of the superior court issues a peace warrant in any county of his circuit, not on information under oath of a person apprehending injury to his person or family or property by another, and commanding the arrest of such other person, and in the discretion of the arresting officer to be allowed to go on his own recognizance, and to appear before the judge at a stated time and place in the county, to be dealt with as provided by law, such warrant is not a compliance with the statute. But if after arrest and release on his own recognizance the person arrested appears before the judge, and is afforded a hearing at which evidence under oath is introduced to show danger of such injury to the person, family, or property of the person named in the warrant, this will be a substantial compliance with the provisions of the Code, § 76-201, affording the judge jurisdiction to order the giving of a bond to keep the peace, and on failure thereof to commit the accused to jail. *Page 624 
(a) In such circumstances the judge was clothed by law with jurisdiction to dispose of cases contemplated by the Code, § 76-201, and acquired jurisdiction of the defendant's person by his appearance at the hearing that was afforded him. If he was dissatisfied with the decision at such hearing, the law afforded him a remedy by certiorari. See Holder v.  Beavers, 141 Ga. 217 (80 S.E. 715); Strickland v.  Thompson, 155 Ga. 125 (116 S.E. 593); Davis v. Smith,  7 Ga. App. 192 (5) (66 S.E. 401); Cross v. Foote,  17 Ga. App. 802 (88 S.E. 594). Any deficiency in the warrant as a means for bringing him before the judge will be treated as a mere irregularity and as insufficient to void the judgment that was rendered.
(b) When, after such judgment, the defendant failed to give bond as required and on that account was put in jail, he was not entitled to discharge on habeas corpus, on the ground that the judgment was void for want of jurisdiction.
(c) The case differs from Ormond v. Ball, 120 Ga. 916
(48 S.E. 383), and Smoot v. State, 160 Ga. 744
(128 S.E. 909, 41 A.L.R. 1533), which were not habeas-corpus cases and the detentions did not arise under the Code, § 76-201, and were not based on judgments after the prisoners had been afforded a hearing. The case also differs from Tollison v.  George, 153 Ga. 612 (3) (112 S.E. 896), which was in habeas-corpus proceedings where the prisoner was held under a void warrant but not under a judgment rendered after a hearing afforded by the court.
(d) The judgment of the trial court remanding the prisoner to the custody of the officer being correct, it will not be reversed because the judge may have based it on the wrong reason.
2. As decision of the case does not depend on the provision of the Code, § 76-101, it is unnecessary to deal with the question as to the constitutionality of that statute.
                      No. 13105. FEBRUARY 14, 1940.
At the July term of the superior court of Wilcox County the grand jury returned a true bill of indictment against George Rhodes "charging him with the offense of illegally pointing a weapon" at another. In their general presentments at that term the grand jury included the following: "We further recommend that the presiding judge of this court require the defendants, George Rhodes and Sam Rhodes, against whom we have returned true bills, to give peace bonds conditioned as required by law to keep the peace in so far as C. W. Gillespie and G. W. Harrell are concerned, such bonds to be in addition to the regular appearance bonds as required by law." Shortly thereafter, on August 23, 1939, the judge, having no personal information upon which to act, and no affidavit or information delivered on oath of another, and proceeding *Page 625 
on his own motion solely on the above recommendation of the grand jury, issued an order commanding the sheriff to arrest the said George Rhodes and bring him before the judge on September 5, 1939, to be dealt with as provided by law. The order was executed and at the appointed time and place the respondent was afforded a hearing "at which evidence was offered and the testimony of various witnesses heard under oath," and following the hearing and argument of counsel the judge passed another order which in part declared: "It is further ordered that George Rhodes be and he is hereby required to give bond in the sum of $500 for his good behavior until the next term of the superior court of Wilcox County, Georgia, as against the person of C. W. Gillespie, and also as against the peace, property, or family of said C. W. Gillespie. . . In default of compliance with this order the sheriff of Wilcox County, Georgia, is directed and authorized to arrest the bodies of said defendants and hold them in the common jail of said county, until compliance by them of this order, or until the further order of the court." On refusal of George Rhodes to give bond the sheriff arrested him. While in custody of the sheriff and confined in jail, George Rhodes instituted habeas-corpus proceedings against the sheriff, alleging that his detention was illegal, on the ground that in the circumstances enumerated it was unauthorized by law, and that in so far as the Code, § 76-101, applied by the judge purported to authorize the judge, on his own motion and unsupported by oath of an informant, to order arrest of Rhodes for failure to give a peace bond, it was void as violative of article 1, section 1, paragraph 16, of the constitution (Code, § 2-116), which provides in part that "no warrant shall issue except upon probable cause, supported by oath, or affirmation, particularly describing the place, or places, to be searched, and the persons or things to be seized." The sheriff produced the prisoner and made response to the petition, setting forth the cause of detention substantially as stated above. The case was submitted upon the pleadings without introduction of other evidence. Rhodes, being remanded to the custody of the sheriff, excepted.
1. It is declared in the Code, *Page 626 
§ 50-116, that no person shall be discharged upon the hearing of a writ of habeas corpus "1. Where he is imprisoned under lawful process issued from a court of competent jurisdiction, unless in cases where bail is allowed and proper bail is tendered. 2. By reason of any irregularity in the warrant or commitment, where the same substantially conforms to the requirements of this Code; nor for want of bond to prosecute. . . 6. In any other case where it appears that the detention is authorized by law." In the Code, § 50-117, it is declared: "If the party shall be detained upon a criminal charge, and it shall appear to the court that there is probable cause for his detention, he shall not be discharged for any defect in the affidavit, warrant, or commitment, until a reasonable time shall have been given to the prosecutor to remedy the defect by a new proceeding." In the Code, § 27-401, it is declared: "Any judge of the superior or county court, or justice of the peace, or city or town officer, who may be ex-officio justice of the peace, may hold a court of inquiry to examine into an accusation against a person legally arrested and brought before him. The time and place of such inquiry shall be determined by him." The Code, § 27-106, declares: "No judicial officer, except a judge of the superior court, shall issue a special warrant for arrest, returnable only before himself; nor shall any judge issue such warrant out of his own judicial circuit. In such cases the warrant, though special, shall be treated as a general warrant." In the Code, § 76-101, it is declared: "Any judicial officer authorized to hold a court of inquiry may, upon the information of others, under oath, or on his own motion, issue his warrant against any person in the county whose conduct is such as to justify the belief that the safety of any one or more of the citizens of the county, or the peace or the property of the same, is in danger of being injured or disturbed thereby; and upon the return of the warrant, the court in its discretion may require from such person a bond with sureties for his good behavior until the next term of the superior court of the county." In the Code, § 76-201, it is declared: "Upon the information of any person, under oath, that he is in fear of bodily harm to himself or his family, from another, or of violent injury to his property, any judicial officer authorized to hold a court of inquiry may issue his warrant against such other person, requiring his arrest; and if, upon the return thereof, the court is satisfied, upon hearing the *Page 627 
evidence of both parties, that probable cause for such fear exists, he may require the accused to give bond, with good security, to keep the peace as against the person, family, and property of the affiant, and, on failure to give the bond, shall commit him to jail."
These two last-mentioned sections of the Code are penal statutes, and are to be strictly construed in favor of the individual against whom they are sought to be applied. In proper cases both may be applied by the judge of the superior court, because both authorize "any judicial officer" to act who is "authorized to hold a court of inquiry," and by other sections of the Code quoted above a judge of the superior court is authorized to hold a court of inquiry and he alone is authorized to issue a warrant returnable only to himself. § 76-101, authorizes the judge in the circumstances therein recited "upon the information of others, under oath, or on his own motion," to issue a warrant against "any person in the county whose conduct is such as to justify the belief that the safety of any one or more of the citizens of the county . . is in danger of being injured," etc., and upon return of the warrant he may in his discretion require from the person "a bond with sureties for his good behavior until the next term of the superior court of the county." It does not, however, provide for arrest or commitment of the individual to jail or any other remedy if he refuses to give bond. The Code, § 76-201, omitting any authority of the judge to act on his own motion, provides for issuance of a warrant and arrest upon the information of any person under oath "that he is in fear of bodily harm to himself or his family," etc. by such person. It also provides for a hearing to the offender upon return of the officer, and if the court is satisfied from "the evidence of both parties that probable cause for such fear exists, he may require the accused to give bond, with good security, to keep the peace as against the person, family, and property of the affiant, and, on failure to give the bond, shall commit him to jail."
In the instant case the judge of the superior court, on his own motion and on recommendation of the grand jury in their general presentments, but not on oath or affirmation of any person, issued a warrant for the arrest of George Rhodes and discharge on his own recognizance to appear before the judge at a stated time and place "to be dealt with as provided by law." This action by the judge was stated to be under the provisions of the said Code, *Page 628 
§ 76-101. The defendant appeared and was afforded a hearing "at which evidence was offered and the testimony of various witnesses heard under oath, and after argument of the attorneys the judge granted an order in part as follows: "It is further ordered that George Rhodes be and he is hereby required to give bond in the sum of $500 for his good behavior until the next term of the superior court of Wilcox County, Georgia, as against the person of C. W. Gillespie, and also as against the peace, property, or family of said C. W. Gillespie. . . " The defendant George Rhodes did not give bond as required by this order, and the sheriff arrested him and put him in jail.
In response to the writ of habeas corpus sued out by George Rhodes the sheriff produced him before the habeas-corpus court, and in support of the detention offered the above judgment of the court in the peace-warrant proceeding supplemented by his answer showing a hearing and introduction of evidence as above stated preliminary to the judgment. The habeas-corpus case was submitted on the respective pleadings that showed no conflict of evidence. On habeas corpus the Code, § 76-101, can not sustain the judgment committing the applicant to jail, because that statute does not provide that penalty. This result does not apply to the Code, § 76-201, which provides for requirement of bond, and imprisonment on failure to give the bond. According to the provisions of the Code, § 76-201, a formal preliminary affidavit was not made, consequently George Rhodes was not formally brought into court. But he came and was heard and testimony was delivered on oath on which the judge acted and required such bond and imposed such penalty as that section of the Code provided. In these circumstances there was substantial compliance with the Code, § 76-201, affording jurisdiction for the judge to enter the judgment which he rendered in the peace-warrant proceeding. It was an irregularity to issue the warrant in the first instance not on the information on oath of C. W. Gillespie rather than by evidence at the subsequent hearing, but such irregularity will not prevent jurisdiction so as to render the judgment of committal void and the prisoner entitled to discharge on habeas corpus. The judgment remanding the prisoner to the custody of the sheriff, being proper, should not be reversed because based on the wrong reason.
2. The ruling announced in the second headnote does not require elaboration. *Page 629 
 Judgment affirmed. All the Justices concur, except Reid, C.J., and Duckworth, J., who dissent.